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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      JUL 30 2020
        Email: amcdow@foley.com
    5          jsimon@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               smoses@foley.com                                                 Central District of California
    6                                                                           BY kaaumoanDEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          ORDER APPROVING DEBTORS’
  17                                                          ENTRY INTO NINETEENTH
            ■ All Debtors                                     AMENDMENT TO CONTRACT WITH
  18                                                          AMAZON LOGISTICS, INC.
            □ Scoobeez, ONLY
  19        □ Scoobeez Global, Inc., ONLY                     Hearing:
  20                                                          Date: July 29, 2020 (Telephonic)
            □ Scoobur LLC, ONLY                               Time: 10:00 a.m.
  21                                                          Place: Courtroom 1375
                                                                     U.S. Bankruptcy Court
  22                                                                 255 East Temple Street
                                                                     Los Angeles, CA 90012
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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              The Court having reviewed and considered the Motion for Entry of Order Approving Debtors’
    2   Entry Into Nineteenth Amendment to Contract with Amazon Logistics, Inc. [Docket No. 818] (the
    3   “Motion”), the Court finding that the Debtors have exercised reasonable and sound business judgment in
    4   entering into that certain Nineteenth Amendment (the “Amendment”) to the Work Order under the
    5   Delivery Provider Terms of Service (as amended, restated, amended and restated and modified from
    6   time to time, the “Program Agreement”), and good cause appearing therefor,
    7              IT IS HEREBY ORDERED that:
    8              1.     The Amendment, and the Debtors’ entry into the Amendment, are approved.
    9              2.     The Amendment shall be part of the Program Agreement and shall be treated in
  10    accordance with this Court’s Order Confirming First Amended Chapter 11 Joint Plan of Reorganization
  11    as Proposed by the Debtors, Hillair and the Official Committee of Unsecured Creditors and the
  12    Separation Agreement described in such Order.
  13               3.     The Court shall retain jurisdiction over any disputes arising from or related to this Order
  14    or the Stipulation.
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  24           Date: July 30, 2020

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                                     ORDER APPROVING NINETEENTH AMENDMENT TO AMAZON PROGRAM AGREEMENT
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